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=::Aavx=h_v        ·Õ¡Î¹±¢Íè    ¸¡©¢Îè    ±¢_ÎÕè    ¢*è      ÕÕ©8±è     ÆÙ`ÛÕè     ÛÌDÕ¢è       aÈè      ÀÔ±*ÛØè ºÐÝÝÂ¨è
M"-Pvhav"]]        ·Õ¢Ì¹±¡Îè    ¸¢©¢Ìè    ±©b±è    ¢*è       Û¡0è     Í¡¸;Àè    ÎÀ6¢±è       @Æè             ºÐÝÝÂ£ª
Shj7   Aa-3c~      ·Õ¡Í»±¡Íè    ¹¢©¡Íè    ±¢cÕ·è    ¡Nè       ÕØ¹'¹è     ÁÀÍd©Åè    ¢Ìh½±è       eÁè     ÁÁÌf©Àè ºÐÜáÄ¯è
]--Q3a/ha"dz=ha     ·Ô¡Í¹±¡Íè    »¡©¡Ìè    ¢©$±¸è    ¢%è      ±ÀÛ*è      ©¹¢y½Íè    ¸`Õ©è       Ãè      ©¸¢g¸Íè ºÐÝÝÂªÖè
]1/Fe")s]           ¹Ô¡Î¹±¢Ìè    ¸©¡Îè     ±¢hÍ©è    ¢iè       ÕÕ6Ûè     Î±6Îè    ±jÈè        OÁè     Í²LÍè ºÐÜÝÂªÝè
ahnzhaN199n7       »Ô¢Ì¹±¡Íè    ¸¢©¢Ìè    ¹¢k¸Õè    ¢lè     ÍÍ@±è     ÎÍÕO±Õè    ©¡ÎKÁ¹è      ÍO¡Íè     ÎÌÔ)±Ôè ºÐÜÝÊè
tGn11/ Aa          »Ô¢Í¹±¡Íè    ¹¢©¡Ìè    ©ÀuÎ©è    ¢*è      Î©²mÁè     ¸©;¢è    ¢¡nÌÛè       oÈè      ¹©p¢è ºÐÝÝÊÐè
uQh;a(#(hht         ·Ô¢Í¹±¡Íè    ¹¡©¢Ìè    Õ*¡Õè    ¢.è      ¬À»uÁè     ©)ÛØè       »¹q¢è      aÈè      ©Û@ÛÕè ºÐÝÝÊÖè
nh0nH:1l"Q       ·Ô¡Í»±¡Íè    ¹¡©¡Ìè    ¶aÁ¸è     ¢=è      ÛØµa¹è     ÁÞÍ6Àè    ¢ÔÀ9Ùè        rÈè      ÁÛÍsÀè ºÐÝâºè
v"b{$gvhaC%         ¹Õ¢Í ¹±¤Íè    ¹¡©¢Ìè    ¡ÕP©è    ¢'è       ¹ÈtÆè      ±¢Õu¹è    ©vÔ·è       )Èè      ±¢Øu½è ºÏÝÝÂ¿è
vAm1Ao""T(3nxh     ¸Ô¡Í ¸±¡Îè    ¹¡©¡Ìè    ³³R¢¡è    ¢)è      Û¡ÁwÁè     ÁÔØ>Øè    ¢©Ì6Ô¡è       'Æè     ÁÚxØè ºÏÝâºÖè
                                                                                                                                                     Case 1:15-cv-02326-ER Document 224-2 Filed 12/22/20 Page 22 of 201




vjnA::v\nn1       ·Ô¡Ì¸±¢Íè    ¹¢©¡Ìè    ±ÛLÍÍè    ¢*è      ©=è      Î©Û*¾è    ©¸¢6ÛÛè       .Áè             ºÐÝâÂ£
|=h]jvhan3:AfV/     »Ô¡Í¸±¤Ìè    »¢©¡Ìè    ±À*Á©è    ¡vè      ÛßØ6Ûè     ÁÛ@Õ¸è    Û±u©è     ÙOÛ¡è              ºÏÝâÊ
x-P3p: 3a/hWa     ¸Õ¢Ì¸±¡Ìè    ¸¢©¢Îè    ±Õy©Îè    ¢uè     »>è     Í I¹Àè     ©®±zÛ´è       KÁè     Î¾ ¹Àè ºÏÝÜÂÂºè
vha!`nP              ¸Ø¡Ì!¹±¡Ìè    »¥©¡Îè    ¹ÁvÍè    ¡@è     ©{è     Û·»|­¢è    «±·GØè       @Çè             ºÏÝÜÂÂÂ
ASSJ'wYAa/3XT      »Õ¢Î"¹±¢Ìè    ¹¡©¤Íè    ©Û*Ôè    ¢}è      ÑÕ©KÇè     ¹À©$àè    ¢à@Ûè       @Èè               ºÐÝÜÄÏ
oA:<x/"ab         ·Õ¢Í#»±¢Íè    ¸¡©¡Ìè    ³´,·è    ¢~è      Û¢p¹è     ÆÀ)Íè    ¡¹ÛÓ©è        uÈè      ÀÁÌè ºÐÝãÏ£è

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ok6               «~»}º­}¤}ºË    ­~¢}ºË     ¤ * Ë     Ë     »Ä ÄË     º +Ë    »º*Ë       ,·Ë      º -Ë ¬¸ÂÃ²¸¡Ë

 "+"e{S1<j~          ­~­}º­}~ºË    ­~}ºË    Ä.¤ºË     Ë       ­»Ä/¤Ë   ¤¢ *Ä Ë    ¯¤0»ºË      .¶Ë         ¬¼¸¼¼
 "S=k|ojaw-k(-      ­~­}º­~}ºË    ­~ }ºË    ­¤/³Ë    *Ë     »0·Ë     »«-­Ë    º³/³Ë      Ä*» Ë     »­1­Ë ¬¼¸¼¬Ë
 &oj>UdQYLo           «~­}º­}}ºË    ­} ~ºË    2»Ë     Ë      ¤3·Ë     »³4»³Ë    ¤ ¤Ë      *·Ë          ¬¼¸¼Â
 &woj"k+             «}­}¹­~}ºË    ­} ~ºË    ¤5­Ë    0Ë       »°6Ë    ª*¤ Ë       Ä7ÄºË     0·Ë           ¬¼¸¼¡
 &woj):,              «~­~º­~}ºË    ­~ }ºË    ¢.»Ë   8Ë       º³*Ë      -Ë     ¤¤.»Ë     .·Ë        /Ë ¬¼¸¼¡¡Ë
 &voj=VWB"e        «~­~º­}~ºË    ­~~ºË    ­­9­Ë    :Ë    ­¤-­Ë    ÄºÄ;ÄË    º 0ÄÄË     0·Ë           ¬¼¸¼£
)"?'Xwoak+o           ­~­~º­~}ºË    ­~ ~ºË    ¤Ä4¢Ë    <Ë    º *ÄË    ³¢4­³Ë    ¢¥¤^º¤Ë   ®=·Ë        ´ >«³Ë ¬¼¸¼¡¬Ë
)"x&"YYoW|.         ­~¯}º­}}ºË    ­} ~ºË   ¤Ä*´»Ë     ? Ë    @¥Ë     º¥»0Ë   ¢¢-¢³Ë      Ä<» Ë       º¤½0Ë ¬¼¸¼¡²Ë
)9jojP"+(:j+        «~­}º­}}ºË    ­~¢~ºË   ­¤A¤¢Ë    ^Ë     ¤½*Ä Ë    Ä»=ÄË    ­. ºË     ·          Ä»BÄ Ë ¬¼¸¼¡ÂË
)o\-+"vl.UW          «}­~º­}~ºË    ­} }ºË   ».»»Ë    /Ë        ¢É*µ Ë      »4 ÅË     ­».³Ë     C·Ë         »/ÄË ¬¼¸ÀË
+%@{|@+j-            ­}­}º­~~ºË    ­} ~ºË   ».ÄË    /Ë       ¢º»9¤ Ë     D³ Ë     º­4ºË     .·Ë       0³ Ë ¬¼¸¼¨Ë
pP=i AZN"{|oj         ­~­~º­~ºË     ­~ ~ºË   »*­Ë    <Ë       ³ºEË    Ä *­¤Ë      ³=³¢Ë     Ä0»¢Ë      Ä *®¤Ë ¬¼¸À¬Ë
,qq&"  }"mw=k.      «~­}º«~~ºË     ­} ~ºË   ¤FË    .Ë     GË     »¤¢>ºË      ­³H Ë     I·Ë               ¬¼¸À²
4xl(o=| |i9          «}­~º­}~ºË    ­~ }ºË    ­¤0»Ë    ;Ë     >¤ Ë   »­³* Ë    ¢³­>³ºË      J·Ë       »­³KË ¬¼¸¾¨¸Ë
7"+{+.j w@(:w+        «}­}º­~~ºË    ­~¢~ºË    ­-­Ë    <Ë    ºL­Ë    º³Ä^³Ë       ºMº¤Ë     *·Ë       º³Ä9³Ë ¬¼¸À¼Ë
9o )9=;k6              ­~­}º­~~ºË    ­}~ºË    ­N³»Ë    0Ë     ­-¤Ë   º»-¤Ë      ­»0³Ë     Ä.»¢Ë      º»O¤Ë ¬¼¸¼¬¬Ë
966Bj{9oi|         ­~­º«~~ºË     ­} ºË     ­¤4ºË    *Ë     »PË    ÄQ¤Ë    Ä»R Ë      Ä» Ë       Ä*¤Ë ¬¼¸¼±Ë
P"*S{oj{"eg         «}«º­}ºË     ­~ ~ºË    ­ SË    ^Ë     Ä.·Ë     Ä»;­Ë    ºT¤ÄË      ·Ë        Ä»O­Ë ¬¼¸¼¬¸Ë
[or-Ck(.k-         «}­}º­}}ºË    ­}¢}ºË    ­-Ë    *Ë     ­ 0Ë      Ä¤­/Ä³Ë    ¤³T¦¤Ë      0·Ë       Ä¤­0Ä³Ë ¬¼¸¼²¼Ë
f()\-k+ok"j9ok     ­~­~º­~~ºË    ­} }ºË    ¢UÄºË    GË       ¤ºÄ ¤Ë   ­ÄV³Ë    Ä*ÄË      W·Ë       ­Ä.³Ë ¬¼¸¼¸Ë
f.+Dm"&yh            ­~­~º­~~ºË    ­~ ~ºË    ³XË    0Ë       º¤YË    ³ºsË    µZÄË      [·Ë       ³º\Ë ¬¼¸¼¸¡Ë
jovokQ-45w-        «}­}º­}~ºË    ­} }ºË    ­­/¤ºË    * Ë     µ¤CË   Ê»¢]»       ³<¯­Ë    º^ºË      » *»Ë ¬¼¸¼¸¬Ë
xgEw2/+@j            ­}¯}º­~}ºË    ­~ ~ºË    ­­<ÄË    . Ë     Ä_µ Ë    »­¢]º     ¤ »`» Ë      4³ Ë      »­ -ºË ¬¼¸¼¼Ë
xe\o8j&"&ooz          «}­~º ­~}ºË    ­~ ~ºË    ³B­Ë    <Ë       ­­aË    ¤³R­³       ÄºO½¤Ë     0·Ë       ¤³b­³Ë ¬¼¸¼¼Ë
wo+wF6-s"U         ­}¯~º­~}ºË    ­~}ºË    ³ ³Ë    0Ë    ¤»cË     Äª.       ¤º 9¦ Ë      .·Ë       Ä¥§*Ë ¬¼¸¼ÀË
wo+wG63s"U          ­}­~º­}~ºË    ­~¢~ºË                      ­*Ë      ¢»­:»­     ¤d°Ë                »­4»«Ë ¬¼¸¼¼¬Ë
|#j$}oj="           ­~­~º!­}}ºË    ­~ }ºË    ¤­J­Ë    eË       Ä«f­Ë   ³»ºg«­     ³¢L­Ë      c·Ë       ³»ºe¯­Ë ¬¼¸¼¼¼Ë
{=u/Hx"]&-wo       «~­}º"­}}ºË    ­~¢}ºË    ³*ºË    <Ë    ¤´»^Ë «RºÄË     ¤³.ºË      @·Ë      «*ºÄË ¬¼¸¼ÂË
}rw@66|aww0        «}«~º"­}~ºË    ­~¢~ºË    ³]­»Ë    .Ë     ¤ººh¤Ë    Ä­»* Ë    ­»i¤½Ë      j·Ë           ¬¼¸¼ÈË
~9oft|okw.6InY+      ­~­}º#­}}ºË    ­~ ~ºË    ¤¤<Ä»Ë    .Ë      Ä¤Ä4§Ë    ­»³^ºË    ººkº»Ë    »¤0ÄË          ¬¼¸¼Æ²Ë
(S.w 7/k+oUj       ­~¯}º$­~}ºË    ­}~ºË    ­§l­Ë    [Ë    ºm­Ë    »³;Ë    ¤.¿Ë       n·Ë       »³>Ë ¬¼¸¼Â¸Ë
|okiwT              ­~­º%­~~ºË    ­~¢~ºË    ­;º»Ë    oË     « h¤Ë    »ºGË    »5­½Ë      ^·Ë           ¬¼¸¼Æ¼Ë
@\W@"e{\Mj+/U\      ­~¯}º&­}~ºË    ­~¢~ºË    ¤BººË    0Ë      ³Ä«^¤ Ë    ¤Ä­pº¢Ë    »Ä.»§Ë      Äq»Ë          ¬¼¸Â¡Ë
w@69,"jk          «~¯}º ­~ºË     ­}¢~ºË    ¤³;¢ Ë    KË    ­¤/ÄË    »­*ÄË    ¤ rË      >·Ë       »­4ÄË ¬¼¸ÇË
Jok6              «}­}º­~~ºË    ­}¢~ºË    ¤³; Ë    <Ë      Ä»³FÄË    ºµº9³Ë    »B³»Ë      .·Ë       º³ºs³Ë ¬¼¸Â¬Ë
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"+"e{S-=k         «~}º­~»~ºË    ³~³~ºË      Ät»¢Ë    :Ë      »¤³.³Ë    ­Ä»uÄÄË    ¤ºvË      w·Ë            ¬¼¬¸¼²Ë
"=j{ojbw.k(/       ­~~º"«}»}ºË    ³~³}ºË     ­¤0³«Ë    *Ë    »Ä>­Ë    »»4Ë    ¢Ä»0­­Ë      Ä0»¢Ë     »»5Ë ¬¼¬¸Â¡Ë
&ok=^cR\No          «~~º­~»ºË    ³~³~ºË     ¢]Ë    .Ë      ³¤@©Ë     ¤ º-¢»Ë    »³I¤Ë      .·Ë          ¬¼¬¸Â¸Ë
&wok!):+              ­}}º'­~»~ºË    ³~³~ºË      ³0ÁË     -Ë      »º*Ë     ³ I¢Ë     ¢:ºË      0·Ë      ´ * Ë ¬¼¬¸Ë
&vojK_`O"f        ­~}º(®~»~ºË    ³~³~ºË     ­*»Ë    xË    ­»y¤ Ë    Äz«Ë    ¤­9­­Ë      .·Ë             ¬¼¬¸
)"@&"\woak+o         ­~}º)­}»~ºË    ³~³~ºË     ­»*Ë    {Ë    ¢Ä YË     º»­;Ë    ¤»4Ë    ­*³Ë     º»­|Ë ¬¼¬¸Ë

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